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                           IN THE UNITED STATES BANUPTCY COURT

                                      FOR THE DISTRICT OF DELAWAR


Inre:                                                             )       Chapter 11
                                                                  )
W. R. GRACE & CO., et aI.,                                        )       Case No. 01-01139 (JK)
                                                                  )       (Jointly Administered)
                             Debtors.                             )



                                            CERTIFICATE OF SERVICE r

                 I, James E. O'Neil, hereby certify that on the                  0\ 1 day of September, 2009, I


caused a copy ofthe following document(s) to be served on the individual(s) on the attached

service list( s) in the maner indicated:


                  NOTICE OF MOTION FOR AN ORDER AUTHORIZING THE SALE OF
                  5% OF THE LIMITED LIABILITY COMPANY INTERESTS OF
                  ADVANCED REFINING TECHNOLOGIES LLC AND CERTAIN
                  RELATED AGREEMENTS AND TRASACTIONS; AND

                  MOTION FOR AN ORDER AUTHORIZING THE SALE OF 5% OF THE
                  LIMITED LIABILITY COMPAN INTERESTS OF ADVANCED
                  REFINING TECHNOLOGIES LLC AND CERTAIN RELATED
                  AGREEMENTS AND TRASACTIONS.



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